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UNITED STATES DISTRICT COURT

soUTHERN DlsTRICT oF TEXAS §m:g§g;;;'§‘.$§x;
CoRPUs CHRISTI DIvIsIoN FEB 22 2017
David J. Bradcey. clerk d com
UNITED sTATEs oF AMERICA §
v. § CRIMINAL NUMBER
RoBERTo MARTINEZ, JR. § C " 1 ? "' 1 1 0
1ND1CTMENT
THE GRAND JURY CHARGES THAT;
CoUNT oNE

On or about January 31, 2017, in the Corpus Christi Division of the Southern District of

Texas and elsewhere within the jurisdiction of the Court, the defendant,
ROBERTO MARTINEZ, JR.,

did knowingly and in reckless disregard of the fact that Bayron Daniel Ortiz-Avila was an alien
who had come to, entered, and remained in the United States in violation of law, transport, move,
attempt to transport, and attempt to move said alien within the United States in furtherance of
such violation of law by means of a motor vehicle.

In violation of Title 8, United States Code, Sections l324(a)(l)(A)(ii),
l324(a)(1)(A)(v)(II), and 1324(a)(_l )(B)(ii).

A TRUE BILL:
C)RIGINAL SIGNATURE ON FILE
FOREPERSON OF TI-HE GRAND JURY

 

 

JEFFRE s. MILLER \
Ass` nited States Attorney

